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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


 UNITED STATES OF AMERICA                         §
                                                  §
 VS                                               §    Case Number: 2:03CR19(17)
                                                  §
 WAYMON DARTY                                     §

                          REPORT AND RECOMMENDATION OF
                        THE UNITED STATES MAGISTRATE JUDGE

        On February 10, 2009, the court held a final hearing on the government’s petition (#1132)

 to revoke supervised release. The government was represented by Assistant United States Attorney

 Denise Simpson. The defendant was represented by Mr. Wayne Dickey.

        Waymon Darty was sentenced on May 17, 2004, before The Honorable U.S. District Judge

 T. John Ward of the Eastern District of Texas – Marshall Division, after pleading guilty to the

 offense of Possession with Intent to Distribute and Distribution of Cocaine Base, a Class C felony.

 This offense carried a statutory maximum imprisonment term of not more than 20 years. The

 guideline imprisonment range, based on a total offense level of 23 and a criminal history category

 of III, was 57 to 71 months. Waymon Darty was subsequently sentenced to 57 months to be

 followed by three (3) years of supervised release subject to the standard conditions of release, plus

 special conditions to include financial disclosure and drug aftercare and a special assessment of

 $100. On December 22, 2006, Waymon Darty completed his period of imprisonment and began

 service of the supervision term.

        On January 14, 2009, the instant petition to revoke was filed. In its petition, the government

 alleges the defendant violated the following conditions:

        1) The defendant shall not commit another federal, state or local crime. Specifically, the
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 government alleges as follows: On February 27, 2008, Waymon Darty was arrested for the offense

 of Manufacturing and Delivery of a Controlled Substance (State Jail Felony). The charge has been

 changed to Manufacturing and Delivery of a Controlled Substance (2nd Degree Felony). This case

 is pending in Harrison County, Marshall, Texas.

        2) The defendant shall refrain from any unlawful use of a controlled substance. The

 defendant shall submit to one drug test within 15 days of release from imprisonment or placement

 on probation and at least two periodic drug tests thereafter, as directed by the probation officer.

 Specifically, the government alleges as follows: On October 15, 2008, the offender submitted a urine

 sample which tested positive for Marijuana. On November 7, 2008, November 13, 2008, November

 20, 2008, and December 3, 2008, the offender submitted a urine sample which tested positive for

 Marijuana, Opiates and Cocaine.

         The court scheduled a final revocation hearing for February 10, 2009. At the hearing on the

 government’s petition, and after consenting to the undersigned’s taking the plea, the defendant pled

 true to the second allegation as set forth above. The government abandoned the first allegation.

 Based on the defendant’s plea of true to the second allegation, and with no objection by the

 defendant or the government, the court found that the defendant did violate the second condition of

 his supervised release as alleged in the U.S. Probation Office’s petition.

        The court thereafter recommended that the defendant be committed to the custody of the

 Bureau of Prisons to be imprisoned for fourteen months, with no term of supervised release to

 follow. Based on the foregoing, it is

        RECOMMENDED that the defendant’s plea of true to the second allegation as set forth in

 the government’s petition be ACCEPTED. Based upon the defendant’s plea of true to the second

 allegation, it is further recommended that the court find that the defendant violated the conditions
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 of his supervised release. It is further

        RECOMMENDED that the defendant’s supervised release be REVOKED. It is further

        RECOMMENDED that the defendant be committed to the custody of the Bureau of Prisons

 to be imprisoned for a term of fourteen months, with no term of supervised release to follow such

 term of imprisonment.

        At the close of the February 10, 2009, revocation hearing, defendant, defense counsel, and

 counsel for the government each signed a standard form waiving their right to object to the proposed

 findings and recommendations contained in this report, consenting to revocation of supervised

 release as recommended herein, and consenting to the imposition of the above sentence

 recommended in this report. Defendant waived his right to be present and speak before the district

 judge imposes the recommended sentence. Therefore, the Court may act on the report and

 recommendation immediately.

        SIGNED this 18th day of February, 2009.




                                                     ___________________________________
                                                     CHARLES EVERINGHAM IV
                                                     UNITED STATES MAGISTRATE JUDGE
